Case 2:23-cv-00878-HCN-DAO   Document 31-2   Filed 04/03/25   PageID.1316   Page
                                   1 of 8




                             EXHIBIT B
Case
 Case2:23-cv-00878-HCN-DAO
      4:24-cv-00033-AMA-PK Document
                            Document41
                                     31-2 Filed
                                             Filed
                                                03/27/25
                                                   04/03/25 PageID.1560
                                                              PageID.1317 Page
                                                                            Page
                                                                               1
                                  2ofof78




                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF UTAH, SOUTHERN REGION

     SHERRY TERESA,
                                                      MEMORANDUM DECISION GRANTING
                                                      DEFENDANT’S MOTION TO DISMISS
            Plaintiff,
                                                      Case No. 4:24-cv-00033
     v.

     MAYO FOUNDATION FOR MEDICAL                      District Judge Ann Marie McIff Allen
     EDUCATION AND RESEARCH,
                                                      Magistrate Judge Paul Kohler
            Defendants.

                                            BACKGROUND

          In this matter, Plaintiff Sherry Teresa asserts a cause of action under the Utah Notice of

 Intent to Sell Nonpublic Personal Information Act (“NISNPIA”), on her own behalf and on

 behalf of a purported class, against Defendant Mayo Foundation for Medical Education and

 Research. 1 Defendant filed a Motion to Dismiss. 2 As set forth below, the Court finds Plaintiff

 fails to allege facts sufficient to support this Court’s subject-matter jurisdiction. Thus, the Court

 will dismiss Plaintiff’s Complaint, without prejudice.

                                               ANALYSIS
          As set forth in detail below, Plaintiff fails to allege sufficient factual material to meet the

 amount-in-controversy threshold set forth in the Class Action Fairness Act (“CAFA”), which is

 Plaintiff’s lone basis for asserting federal jurisdiction. Additionally, even assuming the facts

 alleged were sufficient to meet CAFA’s threshold amount in controversy, Plaintiff has failed to

 allege the existence of a “commercial entity” as required by NISNPIA.


 1
     See First. Amd. Class Action Compl. (“Complaint”) at 22–27, ECF No. 28.
 2
     ECF No. 29.
Case
 Case2:23-cv-00878-HCN-DAO
      4:24-cv-00033-AMA-PK Document
                            Document41
                                     31-2 Filed
                                             Filed
                                                03/27/25
                                                   04/03/25 PageID.1561
                                                              PageID.1318 Page
                                                                            Page
                                                                               2
                                  3ofof78




     I.      Plaintiff has not plausibly alleged facts to show an amount in controversy in
             excess of $5,000,000

          CAFA provides, in pertinent part, “district courts shall have original jurisdiction of any

 civil action in which the matter in controversy exceeds the sum or value of $5,000,000, exclusive

 of interest and costs.” 28 U.S.C.A. § 1332(d)(2). “When a plaintiff invokes federal-court

 jurisdiction, the plaintiff’s amount-in-controversy allegation is accepted if made in good faith.”

 Dart Cherokee Basin Operating Co., LLC v. Owens, 574 U.S. 81, 87 (2014). “When federal

 subject matter jurisdiction is challenged based on the amount in controversy requirement, the

 plaintiffs must show that it does not appear to a legal certainty that they cannot recover” the

 jurisdictional amount. Woodmen of World Life Ins. Soc'y v. Manganaro, 342 F.3d 1213, 1216

 (10th Cir. 2003). 3 Plaintiff has failed to plead facts to show damages in excess of $5,000,000 in

 the first instance and, even assuming the allegations were sufficient, it appears to a legal certainty

 that Plaintiff cannot recover the jurisdictional amount. These two issues will be discussed in

 separate subsections below.

                 a. Plaintiff fails to allege facts to show an amount in controversy in excess of
                    $5,000,000

          As an initial matter, the Complaint contains very little factual information that could

 support Plaintiff’s conclusion that the amount in controversy exceeds $5,000,000. Plaintiff

 makes a jurisdictional allegation that “there are more than 100 class members and the aggregate



 3
  While Woodmen dealt with jurisdiction under 28 U.S.C. § 1332(a) rather than CAFA, the Tenth
 Circuit has shown a willingness to “look to § 1332(a) cases for guidance” when interpreting
 CAFA. Whisenant v. Sheridan Prod. Co., LLC, 627 F. App'x 706, 708 (10th Cir. 2015); see
 Frederick v. Hartford Underwriters Ins. Co., 683 F.3d 1242, 1246–47 (10th Cir. 2012) (“there is
 ‘no logical reason why we should demand more from a CAFA defendant’ than other parties
 invoking federal jurisdiction”).
                                                    2
Case
 Case2:23-cv-00878-HCN-DAO
      4:24-cv-00033-AMA-PK Document
                            Document41
                                     31-2 Filed
                                             Filed
                                                03/27/25
                                                   04/03/25 PageID.1562
                                                              PageID.1319 Page
                                                                            Page
                                                                               3
                                  4ofof78




 amount in controversy exceeds $5,000,000, exclusive of interest, fees, and costs, and at least one

 Class member is a citizen of a state different from Defendant.” 4 Of course, this language

 constitutes a mere legal conclusion couched as a factual allegation, which the Court is not bound

 to accept as true. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

           Plaintiff’s lone remaining factual allegation regarding the amount in controversy fails to

 plausibly allege damages that could meet the CAFA threshold. Plaintiff cites to no authority to

 suggest CAFA relieves her of the obligations under Rule 8 and Twombly/Iqbal to plead sufficient

 facts to show her claims, including the damage amounts, are plausible. See, e.g., id. Although

 Dart involved a notice of removal rather than a complaint, the Supreme Court applied the

 plausibility standard to that notice in considering whether it adequately set forth facts sufficient

 to satisfy CAFA’s amount-in-controversy threshold. See 574 U.S. at 84 (considering whether the

 notice of removal “allege[d] the requisite amount plausibly”). Thus, CAFA does not appear to

 alter the pleading standard with regard to plausibly alleging the amount in controversy.

           Turning to the allegations here, Plaintiff alleges that NISNPIA allows a plaintiff to

 recover a fixed $500 for each violation. 5 Accordingly, to meet the threshold of an “amount in

 controversy that exceeds $5,000,000,” Plaintiff must allege facts to indicate Defendant violated

 NISNPIA over 10,000 times with respect to herself and the proposed class. Plaintiff alleges,

 upon information and belief, there are “thousands” of “persons in Utah who had their Private

 Purchase Information obtained by Mayo on or after January 1, 2004[,] as a result of a consumer

 transaction and who, at any point during the applicable statutory period, had such Private



 4
     Compl. at 7.
 5
     Compl. at 11.
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Case
 Case2:23-cv-00878-HCN-DAO
      4:24-cv-00033-AMA-PK Document
                            Document41
                                     31-2 Filed
                                             Filed
                                                03/27/25
                                                   04/03/25 PageID.1563
                                                              PageID.1320 Page
                                                                            Page
                                                                               4
                                  5ofof78




 Purchase Information disclosed by Mayo to one or more third party.” 6 In addition to referring to

 a 20-year period, which raises statute-of-limitations questions, it is insufficient to allege

 “thousands” of violations. To meet the CAFA threshold, Plaintiff needs to allege sufficient

 factual material, consistent with Rule 11, to show over 10,000 violations. Plaintiff’s argument in

 opposition highlights the limitations of the Complaint. Plaintiff refers to factual material outside

 the Complaint, coupled with new theories also not set forth in the Complaint, to reach CAFA’s

 threshold amount in controversy. 7 Thus, the Complaint is insufficient, as Plaintiff’s argument

 highlights. While the pleading burden is relatively modest, Plaintiff must allege sufficient facts

 to plausibly show damages in excess of $5,000,000. 8 She has not done so.

                b. Plaintiff fails to allege the existence of a “commercial entity” as required
                   by NISNPIA

        Next, even assuming Plaintiff had alleged sufficient factual material in the Complaint to

 meet the CAFA’s threshold amount in controversy, it appears, to a legal certainty, 9 that the class

 cannot recover in excess of $5,000,000 because the Complaint does not allege the existence of a


 6
   Compl. at 20.
 7
   See ECF No. 37 at 10 (assuming an average of 1.4 purchases (without describing a factual
 basis for this average) by a group of 7,633 people (not described anywhere in the Complaint)).
 8
   The Supreme Court’s decision in Dart is instructive. In Dart, the notice of removal asserted
 “purported underpayments to putative class members totaled more than $8.2 million.” Dart
 Cherokee Basin Operating Co., LLC v. Owens, 574 U.S. 81, 85 (2014). The trial court in Dart
 discussed the rough calculations contained in the notice of removal to calculate this alleged
 underpayment amount. Owens v. Dart Cherokee Basin Operating Co. LLC, No. 12-4157-JAR-
 JPO, 2013 WL 2237740, at *2 (D. Kan. May 21, 2013), vacated, No. 12-4157-JAR-JPO, 2015
 WL 5451441 (D. Kan. Mar. 4, 2015). Although ultimately resolved on other grounds, Dart and
 Owens involved extensive litigation about whether the, comparatively detailed, allegations in
 that case sufficiently alleged CAFA’s threshold amount in controversy.
 9
   As stated above, the burden is on Plaintiff to ‘show that it does not appear to a legal certainty
 that they cannot recover’ the jurisdiction amount.” Woodmen, 342 F.3d at 1216. While the Court
 applies this burden to Plaintiff, the body of the opinion will avoid the use of the double negative
 contained in this standard, for clarity’s sake.
                                                   4
Case
 Case2:23-cv-00878-HCN-DAO
      4:24-cv-00033-AMA-PK Document
                            Document41
                                     31-2 Filed
                                             Filed
                                                03/27/25
                                                   04/03/25 PageID.1564
                                                              PageID.1321 Page
                                                                            Page
                                                                               5
                                  6ofof78




 “commercial entity” as required by NISNPIA. “Generally, dismissal under the legal certainty

 standard will be warranted only . . . [in limited circumstances, such as] when the law limits the

 amount recoverable.” 10 Woodmen of World Life Ins. Soc'y v. Manganaro, 342 F.3d 1213, 1217

 (10th Cir. 2003) (citing Wright, Miller & Cooper, Federal Practice and Procedure: Jurisdiction 3d

 § 3702). The law limits the amount recoverable here because NISNPIA applies only to a

 “commercial entity,” which is defined as one “that: (i) has an office or other place of business

 located in [Utah]; and (ii) in the ordinary course of business transacts a consumer transaction in”

 Utah. Utah Code §§ 13-37-102(2)(a), 13-37-203(1). Here, Plaintiff has not alleged facts that

 could establish Defendant has an office or other place of business in Utah. Plaintiff alleges

 Defendant “is a Minnesota corporation that maintains its headquarters and principal place of

 business in Rochester, Minnesota.” 11 Plaintiff also alleges Defendant:

        “has one or more office(s) or other place(s) of business in Utah, including but not limited
        to at 15 West South Temple, Suite 600, Salt Lake City, Utah (a location overseen by
        [Defendant]’s registered agent on [Defendant]’s behalf). Additionally, [Defendant] has
        employees who work for [Defendant] from Utah (and thus conduct business on
        [Defendant]’s behalf at places in Utah). 12

        The introductory clause, alleging Defendant “has one or more office(s) or other place(s)

 of business in Utah,” constitutes a mere legal conclusion couched as a factual allegation, which

 the Court is not bound to accept as true. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). The factual

 material alleged indicates Defendant has a registered agent in Utah and employees who work

 “from Utah.” The Court follows the reasoning of Judge Kohler and Judge Campbell, both of


 10
    Woodman also suggested dismissal might be warranted in circumstances that do not appear
 applicable here, namely “when a contract limits the possible recovery . . . [or] when there is an
 obvious abuse of federal court jurisdiction.” 342 F.3d at 1217.
 11
    Compl. at 6.
 12
    Id. at 6–7.
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Case
 Case2:23-cv-00878-HCN-DAO
      4:24-cv-00033-AMA-PK Document
                            Document41
                                     31-2 Filed
                                             Filed
                                                03/27/25
                                                   04/03/25 PageID.1565
                                                              PageID.1322 Page
                                                                            Page
                                                                               6
                                  7ofof78




 whom determined that “a company lacking its own offices in the state—having only a registered

 agent and/or employees who work or have worked in Utah—cannot qualify as a Utah

 “commercial entity” within the meaning of the NISNPIA.” Atwood, v. Dotdash Meredith, Inc.,

 No. 1:24-CV-00046-TC-DAO, 2025 WL 815118, at *4 (D. Utah Mar. 13, 2025) (citing Camoras

 v. Publishers Clearning House, LLC, No. 4:23-CV-00118-DN-PK, 2024 WL 2262786, at *2 (D.

 Utah May 17, 2024)). These are the only facts Plaintiff alleges here: that Defendant’s registered

 agent and unspecified employees are in Utah. In this way, Plaintiff’s factual allegations here are

 identical to the factual allegations Judge Campbell reviewed in Atwood, aside from the name of

 the defendant there. 13 For all the reasons ably stated by Judge Campbell, this Court finds

 Plaintiff has failed to allege the existence of a “commercial entity” under NISNPIA. In short, the

 presence of Defendant’s registered agent, and remote employees, does not establish Defendant

 “has an office or other place of business located in [Utah].” Utah Code §§ 13-37-102(2)(a)(1).

 Accordingly, the Court dismisses the Complaint for lack of subject-matter jurisdiction. 14




 13
    Ms. Atwood alleged Dotdash Media: “has one or more office(s) or other place(s) of business in
 Utah, including but not limited to at 1108 E. South Union Ave., Midvale, Utah 84047 (a location
 overseen by [Dotdash Media’s] registered agent on [Dotdash Media’s] behalf). Additionally,
 [Dotdash Media] has employees who work for [Dotdash] from Utah (and thus conduct business
 on [Dotdash Media’s] behalf at places in Utah).” Atwood, 2025 WL 815118 at *2.
 14
    The Court deals with this as an issue of jurisdiction because, absent subject-matter jurisdiction,
 the Court cannot reach the merits of the case. See, e.g., Steel Co. v. Citizens for a Better Env't,
 523 U.S. 83, 94 (1998) (“Without jurisdiction the court cannot proceed at all in any cause.
 Jurisdiction is power to declare the law, and when it ceases to exist, the only function remaining
 to the court is that of announcing the fact and dismissing the cause.”). Additionally, because the
 Court finds jurisdiction lacking on the basis of the amount in controversy under CAFA, the Court
 does not reach Defendant’s other arguments regarding subject-matter jurisdiction.
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Case
 Case2:23-cv-00878-HCN-DAO
      4:24-cv-00033-AMA-PK Document
                            Document41
                                     31-2 Filed
                                             Filed
                                                03/27/25
                                                   04/03/25 PageID.1566
                                                              PageID.1323 Page
                                                                            Page
                                                                               7
                                  8ofof78




                                               ORDER

        Based on the foregoing, the Court GRANTS Defendants’ Motion to Dismiss. (ECF No.

 29). Plaintiff’s Complaint is DISMISSED without prejudice. Plaintiff may file an amended

 complaint not later than April 18, 2025, setting forth facts sufficient to state a claim within this

 Court’s jurisdiction. Failure to file an amended complaint by that deadline will result in

 dismissal of this action without further notice.

        DATED this 27th day of March 2025.
                                                BY THE COURT:


                                                _________________________
                                                Ann Marie McIff Allen
                                                United States District Judge




                                                    7
